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                   IN THE UNITED STATES DISTRICT COURT FOR
                       THE MIDDLE DISTRICT OF ALABAMA
                               EASTERN DIVISION

UNITED STATES OF AMERICA                       )
                                               )
v.                                             )           3:14cr403-MHT
                                               )                 [WO]
QUINTON MICHAEL CORBETT                        )

                              ORDER ON ARRAIGNMENT

       On September 26, 2014, the defendant, QUINTON MICHAEL CORBETT, appeared
in person and in open court with counsel, William Whatley, and was arraigned in accordance
with the provisions of Rule 10 of the Federal Rules of Criminal Procedure.

       PLEA. The defendant entered a plea of NOT GUILTY. Counsel for the defendant
is requested to contact the U. S. Attorney immediately if the defendant intends to engage in
plea negotiations. If the defendant decides to change this plea, the parties shall file a notice
of intent to plead guilty or otherwise notify the clerk’s office at or before the pretrial
conference and then this action will be set on a plea docket.

       PRELIMINARY SENTENCING GUIDELINES INFORMATION. The court no
longer requires the United States Probation Office to provide preliminary sentencing
guideline information to defendants. However, in difficult or complex cases defendants may
request the United States Probation Office to provide Sentencing Guideline calculation
assistance with the understanding that any estimate is tentative only and is not binding on the
United States Probation Office, the parties or the court. The court expects that requests for
Sentencing Guideline calculation assistance shall be the exception and that defendants will
not make such requests a matter of routine. A request for Sentencing Guideline calculation
assistance shall be made in writing to the supervisor of the Presentence Investigation Unit
of the United States Probation Office not later than 10 days from the date of this order. The
calculation shall be completed not later than one week before the pretrial conference.

      PRETRIAL CONFERENCE. An initial pretrial conference is hereby set for
October 15, 2014, at 3:00 p.m. before Chief United States Magistrate Judge Susan Russ
Walker in Courtroom 5-B, Frank M. Johnson, Jr. Federal Building and United States
Courthouse Complex, One Church Street, Montgomery, Alabama. Not later than three
days prior to the date of the pretrial conference, counsel shall confer about the issues
and matters to be discussed at the pretrial conference as set forth in this order. Counsel

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who want in-custody defendants to attend must notify the Magistrate Judge within three days
of the conference date so that an order to produce can be issued to the United States Marshal.

        At the pretrial conference, defense counsel and counsel for the government shall be
fully prepared to discuss all pending motions, the status of discovery, possible stipulations,
and the estimated length of the trial. Defense counsel and counsel for the government shall
be fully prepared to provide a definite commitment as to the final disposition of this case –
by trial, plea or other non-trial disposition. If resolution of a dispositive motion will affect
the nature of this commitment, counsel must be fully prepared to discuss this type of
resolution. If the case is for plea, the notice of intent to enter a plea should be filed at the
time of the pretrial conference. If counsel require additional time for plea negotiations,
counsel should be prepared to inform the court about the date when those negotiations will
be completed.

       TRIAL. At arraignment, the parties agreed that due to the nature of this case, the
need for adequate time for discovery and the need for counsel to have adequate time for trial
preparation, the case should be set for trial before United States District Judge Myron H.
Thompson on the trial term beginning on December 1, 2014 in Opelika, Alabama at 10:00
a.m., unless otherwise ordered by the court.

        In setting this case for trial on the term indicated above, the court recognizes that the
Speedy Trial Act places limits on the court’s discretion, and that under the act, the trial of a
defendant must commence within 70 days of the date of the indictment or the date of the
defendant’s first appearance before a judicial officer, whichever is later. 18 U.S.C. §
3161(c)(1). In determining whether a case should be set after the expiration of the 70 day
period, a court must consider among other factors “[w]hether the failure to [set the case at
a later date] ... would be likely to ... result in a miscarriage of justice.” 18 U.S.C. §
3161(h)(7)(B)(I). The court also must consider “whether the failure to grant such a
continuance ... would deny counsel for the defendant or the attorney for the government the
reasonable time necessary for effective preparation, taking into account the exercise of due
diligence.” 18 U.S.C. § 3161(h)(7)(B)(iv). Based on the nature of this case, the parties’ need
for adequate time for discovery and the need for counsel to have adequate time for trial
preparation, the court finds that the ends of justice served by setting this case on this trial
term outweigh the best interest of the public and the defendant in a speedy trial.

        PRETRIAL MOTIONS. All pretrial motions under Fed. R. Crim. P. 12(b) and (d),
14 and 16; all notices under Fed. R. Crim. P. 12.1, 12.2 and 12.3; and any motion to compel
pursuant to M.D. Ala. LCrR 16.1 Criminal Discovery (a copy of this Rule may be found
at http://www.almd.uscourts.gov/docs/lorules.pdf.) must be filed no later than TWO DAYS
BEFORE THE FIRST PRETRIAL CONFERENCE HELD IN THIS CASE, except

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that if the pretrial conference falls on Monday, the deadline for filing pretrial motions
is always the preceding Wednesday. No motion filed after this date will be considered
unless filed with leave of court. A continuance of the pretrial conference or trial does not
extend the motions deadline. THE CONFERENCING REQUIREMENT SET FORTH
IN M.D. Ala. LCrR 16.1(c) CRIMINAL DISCOVERY SHALL BE MET BEFORE
THE COURT WILL CONSIDER ANY DISCOVERY MOTION. THE COURT WILL
DENY MOTIONS TO ADOPT MOTIONS FILED BY OTHER DEFENDANTS.

        Motions to suppress must allege specific facts which, if proven, would provide a basis
of relief. This Court will summarily dismiss suppression motions which are supported only
by general conclusory assertions founded on mere suspicion or conjecture. All grounds upon
which the defendant relies must be specifically stated in the motion in separately
numbered paragraphs in a section of the motion which is labeled “Issues Presented.”
Grounds not stated in the “Issues Presented” section of the motion will be deemed to
have been waived. See generally United States v. Richardson, 764F.2d 1514, 1526-27 (11th
Cir. 1985).

      The government shall file a response to all motions filed by the defendant on or
before five days prior to the date set for a hearing on the motion or, if no hearing is
necessary, on or before ten days after the date of the pretrial conference.

       DISCOVERY. All discovery in this action shall be conducted according to the
requirements of M.D. Ala. LCrR 16.1 Criminal Discovery. Unless the government
provided initial disclosures to the defendant prior to or at arraignment, the government is
ORDERED to tender initial disclosure to the defendant on or before September 26, 2014.
Disclosures by the defendant, as required by M.D. Ala. LCrR 16.1(a)(4) shall be provided
on or before October 3, 2014.

        JENCKS ACT STATEMENTS. The government agrees to provide defense counsel
with all Jencks Act statements no later than the day scheduled for the commencement of the
trial.1

        MANDATORY APPEARANCE OF COUNSEL. Counsel of record for all parties
are ORDERED to appear at all future court proceedings in this criminal case. Those attorneys
who find it impossible to be in attendance (especially at the pretrial conference, jury
selection, or trial) must make arrangements to have substitute counsel appear on behalf of
their clients. Any attorney who appears as substitute counsel for a defendant shall have full


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           In certain complex cases, the government may agree to earlier production.

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authorization from the defendant to act on his or her behalf and be fully prepared to proceed.
Substitute counsel shall not be counsel for a co-defendant unless permitted by the court after
proper motion. Any counsel who wishes to have substitute counsel appear must obtain
permission of the court in advance.

      NOTE: Except in extraordinary circumstances or circumstances in which the
Constitution would require it, the court will not entertain motions to withdraw filed by
counsel who appear at arraignment unless the motions are filed within seven days of
the date of this order. Failure to obtain fees from a client is not an extraordinary
circumstance.

       Done this 29th day of September, 2014.

                                           /s/ Wallace Capel, Jr.
                                           WALLACE CAPEL, JR.
                                           UNITED STATES MAGISTRATE JUDGE




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